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                                                      August 31, 2018




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RE:          Antol v Adam Dent, et al.
             Case No. 1 :17-cv-00613
             Our File No. 106813


Gentlemen:


    Enclosed please find Defendants Dent, Straus, Bringedahl and Kutches' Motion for
Summary Judgment and supporting brief. Thank you.


                                                                  Very truly yours,


                                               CUMMINGS, McCEOREY, DAVIS & ACHO, P.L.C.




                                                                  Curt A. Benson
CAB:dbr
Enclosures




00668881-1
                       Clinton Township. Ml       Grand Rapids. MI    Livonia. Ml   Traverse City. Ml
                                                Kansas City. MO    riverside. CA
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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

ANTOL, DEREK, individually and as
next friend for DSAII, a minor, DEVON
S. ANTOL and TRYSTON ANTOL,

         Plaintiffs,                      Case No. 1:17-cv-613

v.                                        HON. JANET T. NEFF

ADAM DENT, KATE STRAUS, CASEY
BRINGEDAHL, CASEY TRUCKS, and
PETE KUTCHES,


         Defendants.




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          BRIEF IN SUPPORT OF DEFENDANTS DENT, STRAUS, BRINGEDAHL
                 AND KUTCHES' MOTION FOR SUMMARY JUDGMENT

                          *** ORAL ARGUMENT REQUESTED ***




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                                         INTRODUCTION

       Reduced to its essentials, the Plaintiffs complain as follows: the building located at 885

East Apple Avenue is divided between two separate entities.       The first entity, occupying the

northern part of the building is Deuces Wild, a commercial operation open to the public. The


southern part of the building is occupied by the marijuana operation and is closed to the public.

The marijuana operation, the Plaintiffs allege, was perfectly legal under the Michigan Medical


Marijuana Act. Therefore, the theory goes, the police illegally obtained a search warrant for the

"legal" business located in a facility separate and apart from Deuces Wild. From this questionable

proposition, the Plaintiffs claim that the several searches and seizures were illegal (and


unconstitutional.) All the negative consequences (to the Plaintiffs) which flowed therefrom was

also illegal and unconstitutional.

       But the theory rests upon two false declarations. The Plaintiffs falsely claim that their

marijuana operation at 885 East Apple Avenue was "lawful." It was not lawful. They also falsely

conclude that the three search warrants the Defendants executed were invalid. They were valid.

Consequently none of the negative outcomes (to the Plaintiffs) which flowed from the warrants,

including the Plaintiff's conviction for possession with the intent to distribute marijuana,

constituted a federal or state cause of action.

A. All three search warrants were valid

       As established in paragraphs 3 and 4 of the Joint Statement of Material Facts for

Defendant's Motion for Summary Judgment, Detective Adam Dent made two undercover

purchases of marijuana. Both purchases were illegal under Michigan law because Mr. Dent was

not a patient of either caregivers who sold him the marijuana. See People v. Hartwick, 498

Mich. 192, 241, 870 N.W.2d 37, 63 (2015).


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       Detective Dent duly recorded the illegal marijuana sales in his affidavit for a search

warrant. See Paragraphs 2 and 3 of Dent's affidavit for search warrant attached as Exhibit

1 . Based in part of this accurate statement of facts, the District Judge authorized the warrant.


       Probable cause exists "where the facts and circumstances within an officer's knowledge

and of which he has reasonably trustworthy information are sufficient in themselves to warrant

a man of reasonable caution in the belief that an offense has been or is being committed."

People v. Champion, 452 Mich. 92, 115, 459 N.W.2d 849, 860 (1996). This assessment must

be made in light of the "totality of the circumstances."    Walsh v. Taylor, 263 Mich. App. 618,


628-9, 689 N.W.2d 506, 514 (2004).

      The Michigan Medical Marijuana Act (MMMA) "does not create a general right for

individuals to use and possess marijuana in Michigan. Possession, manufacture, and delivery

of marijuana remain punishable offenses under Michigan law." People v. Kolanek, 491 Mich.

382, 394 (2012). The MMMA only provides an affirmative defense against criminal liability for

those individuals whose production and use of marijuana "is carried out in accordance with the

provisions of the MMMA." Id., at 394; U.S. v. Ellis, 910 F. Supp. 2d 1008, 1017 (W.D. Mich.

2012). "As an affirmative defense, the MMMA merely has the potential to excuse a defendant's

criminal act; it does not negate any element of the crime." Id.

      As a consequence, and contrary to Plaintiffs' assertions, a search warrant affidavit "need

not provide specific facts pertaining to the MMMA, i.e., facts from which a magistrate could

conclude that the possession, manufacture, use, creation, or delivery is specifically not legal

under the MMMA." People v. Brown, 297 Mich. App. 670, 674-5, 825 N.W.2d 91, 93 (2012),




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U.S. v. Duval, 742 F.3d 246, 252 (6th Cir. 2014). The affidavit need only address the elements

of an offense, not whether the target of investigation may have an MMMA defense.

       Under M.C.L. 333.7405(1 )(d), it is a criminal offense to "[kjnowingly keep or maintain a


store, shop, warehouse, dwelling, building ... or other structure or place . . . that is used for


keeping or selling controlled substances in violation of [the public health code]."       This is a

misdemeanor offense, M.C.L. 333.7406, but it is a criminal offense nonetheless.

 .     As interpreted by the Michigan courts, criminal liability under M.C.L. 333.7405(1 )(d)


encompasses anyone having "general control" over premises, including a mere renter of

bedroom space in a house. People v. Barlett, 231 Mich. App. 139, 156, 585 N.W.2d 341, 350


(1998) "We believe that ... the payment of rent for the building where controlled substances

were kept, sold, or used was indicative of control." Id.

       In this case, Mr. Antol was an incorporator or officer of a corporation known as 885 East

Apple, LLC. 885 East Apple was purchasing the subject building (located at 885 East Apple in

Muskegon.) (See Exhibit 1, Antol Dep. pp. 30 - 34). 885 East Apple used the backroom as a

marijuana dispensary. (Exhibit 1, Antol Dep. p. 36. lines 1-5). There is no question that Mr.

Antol occupied and controlled the marijuana dispensary. Whether Mr. Antol would have an

affirmative defense by virtue of the MMMA is irrelevant for purposes of obtaining a search

warrant and the execution of that warrant. Bartlett, 294 Mich. App. at 674-5, 825 N.W.2d at 93,

Duval, 742 F.3d at 252.

       The same analysis applies to the other charges brought against Plaintiff for illegal delivery

and manufacturing of marijuana, M.C.L. 333.7401.            The elements of these offenses are

unchanged by the MMMA for purposes of a search warrant affidavit and even prosecution.




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Whether Mr. Antol would have an affirmative defense by virtue of the MMMA does not undermine


the probable cause for either.


       The fact that Mr. Antol claims that the 6th Circuit Tax Team had no permission to enter


the locked marijuana dispensary is irrelevant: It is undisputed that two employees of Deuces

Wild led Detective Dent into the dispensary and sold him marijuana in violation of Michigan's

Criminal Code. See Hartwick, supra, at 241. The illegal contraband was plainly visible to Det.

Dent as the two employees showed him the various marijuana products.


       In fact, Mr. Antol's own testimony belies his fanciful claim that the marijuana dispensary

was "legal." In his deposition, Mr. Antol testified under oath that he was actually guilty of illegally


selling marijuana from the dispensary. Specifically, while reviewing Mr. Antol's extensive criminal

record, Mr. Antol discussed his convictions arising out of the raid on Deuces Wild and his two

homes:


              Q:     (by Mr. Benson) And so now we're looking at subpart D.           Is
                     this the crime which gives rise to this incident?

              A:     (by Mr. Antol) It is.

              Q:     Okay. So July 9th, Muskegon County Circuit Court, 20 -
                     excuse me, July 9th, 2014, Muskegon County Circuit Court,
                     manufacture - what's the PWID, marijuana, with possession
                     with the intent to distribute, I assume?

              A:     Yes.


              Q:     Okay.  Pled to manufacturing marijuana, 12 months in jail.
                     And that is as a result of the warrants executed in the case
                     that we're here today about, correct?

              A:     Correct.


              Q:     And you pled guilty to that?

              A:     I did.




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              Q:       I'm sorry?

             A:      I did.

              Q:     And you pled guilty because you were in fact guilty?

             A:     Yes.


              Q     And subpart E, 201 4, delivery of marijuana, pled guilty. Is that
                    the same - does that arise out of this same incident?

             A:      It does.


             Q:      Okay. And you pled guilty to delivery of marijuana, and you
                     pled guilty because you were in fact guilty, correct?

             A:     Yes.


All three search warrants were valid.


B. Count I must fail


       In Count I, the Plaintiffs accuse the Defendants of unlawfully seizing surveillance/security


equipment and a DVR.        The Defendants provided the Plaintiffs with a notice of seizure and


attempt to forfeit pursuant to M.C.R. 333.7523.             Even though the Plaintiffs posted a bond


pursuant to that Act, and even though the Court ordered the return of the property, the Plaintiffs

claim the Defendants destroyed the property. The Plaintiffs claim the destruction was intentional

even though the Defendants had actual notice that the Court had ordered the return of the DVR.

They allege a 4th Amendment violation.

      The Plaintiffs' claim that the Defendants seized surveillance/security equipment and the

DVR "unlawfully" is simply wrong. As set forth above, the search warrant was valid. The warrant

clearly articulates "surveillance equipment, including but not limited to recording devices" as

items the police are authorized to seize,         Thus, the Defendants' decision to seize the

surveillance/security equipment and the DVR were expressly authorized by the District Judge.



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         The destruction of the DVR is another matter.         Defendant Straus indeed authorized the


destruction of the DVR.1      The undisputed evidence establishes that Det. Sgt. Straus acted in

good faith when she ordered the DVR destroyed, and as such is entitled to qualified immunity.


         As set forth in the Joint Statement of Material Facts, in July and August of 2014, the


Muskegon County Prosecutor's Office instituted three civil forfeiture actions in Muskegon County

Circuit Court. The seized surveillance/security equipment and the DVR were not listed as items

to be forfeited. Senior Assistant Muskegon County Prosecuting Attorney Robert Matthew


represented the County in those cases. These three actions were concluded by way of a June

29, 2015 Consent Order. See Exhibit 2. According to the sworn testimony of Robert Matthew


and Katie Straus, the following two points are undisputed:

               1.     Robert Matthew, not a party to this action, interpreted the
                      Order, and still interprets the Order, as not providing for the
                      return of the DVR; Roberts Dep. P 13 1. 3 - 23

               2.     Robert Matthew conveyed his interpretation of the Consent
                      Order to Det. Straus, and Det. Straus, relying upon Robert
                      Matthew's interpretation of the Order, ordered the DVR
                      destroyed. Roberts Dep. P 12 1. 11-17; Straus Dep. P 21 I.
                      12-17


               3.     Kate Straus was not provided with a copy of the consent June
                      29, 2015, order. Straus Dep. 21, 1. 12-17; Roberts Dep. P.
                      25-I. 1-6.



         Qualified immunity allows law-enforcement personnel and prison officials to perform their

discretionary duties in good faith and shields them from civil damages for the inadvertent

infringements of constitutional rights. See Oswald v. Graves , 819 F. Supp. 680, 684 (Ed. Mich.

1993).




1 It is undisputed that the recorded audio and images on the DVR were retrieved and made available to the
Defendants before the DVR was destroyed.

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       The allegation against Det. Sgt. Straus, "at most, it might be tantamount to negligence,


but negligence does not equate to a constitutional violation." See Snyder v. United States ,

59F. App'x 505, 51 (6th Cir. 2014) (internal quotations and citations omitted).    A state official


who acts in a merely negligent fashion lacks, by definition, the state of mind necessary to

overcome a qualified immunity defense. See Procunier v. Navarette, 434 U.S. 55, 566, 98 S.

Ct. 855, 862 (1978).

      As Det. Sgt. Straus was acting on the instruction of the attorney handling the forfeiture

case, her conduct cannot even reasonably be considered negligent.        In fact, it was perfectly

proper under the circumstances.     But even if negligent, Det. Sgt. Straus is clearly entitled to


qualified immunity.

C. Count It will fail because police officers have the authority to secure a residence while
waiting for a search warrant


       In Count II, the Plaintiffs allege that Defendants Bringedahl, Trucks and Kutches


unlawfully entered the Greencreek address before they obtained a search warrant (they

eventually obtained one) and, thus, conducted an illegal search.     They claim the entry was,

therefore, warrantless and there were no exigent circumstances justifying a warrantless entry.

They claim a door was broken down, property was damaged and property illegally seized. They

allege a 4th Amendment violation.

      Defendants Bringedahl, Trucks and Kutches were in front of the Green Creek address

awaiting the arrival of a search warrant.       In waiting for the search warrant, the officers

encountered a man coming from the residence and walking toward the barn. Upon questioning

the man, he said he was an electrician working for Mr. Antol. He further stated he "did not know"

whether anyone else was in the house.        Based on this information, Detective Bringedahl

contacted Kate Straus, then a detective sergeant with the Muskegon Police Department, and


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Det. Sgt Straus requested the officers to enter the home to secure the residence prior to the


search warrant.2 (Bringedahl Dep. p. 13, 1. 8-1-3)

        Given the fact an occupant of the house would have seen the WEMET officers in the yard,

and that the man was so vague about whether there was someone in the house, the officers


made the judgment to enter the home to secure it while they waited for the arrival of the search


warrant. The search warrant arrived shortly after the home was secured.


        A residence may be secured to preserve evidence while a warrant is sought. Such a


warrantless seizure supported by probable cause interferes with the owner's possessory

interest, but it is reasonable if limited in time. It still preserves the owner's privacy interest until


there is judicial authorization to search. See Segura v. U.S., 468 U.S. 796, 104 S. Ct. 3380, 82

L. Ed. 2d 599 (1984).


        How long the officers were in the house before the arrival of the search warrant is unclear.


But it is the Plaintiffs' burden to avoid qualified immunity, and they will not be able to present at


evidence at trial that an unreasonable length of time passed while the officers secured the home.

D. Count HI is futile because, as set forth above, the warrant was valid.

       The allegations contained in Count III are similar to Count II. The Plaintiffs again claim

that the entry into the Greencreek residence was unlawful. Plaintiffs added the allegation that

Defendant's lied on the affidavits submitted to the District Court Judge who issued the warrant.

Specifically, the Plaintiffs claim that the Defendants knew the marijuana operation located at 885

East Apple Avenue was separate and apart from Deuces Wild and constituted a separate

business. The Plaintiffs extrapolate from there that the search of the marijuana operation was



2 Officer Bringedahl testified that he did not enter the house before the search warrant arrived. Derek Antol, Jr.
testified that he saw three officers in the home when he was awakened. While this may be a disputed fact, it is not
"material." For purposes of this motion only, the Defendants will concede that three officers entered the home.
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unconstitutional, and thus the search of the Greencreek address was also illegal. The Plaintiffs

allege a 4th Amendment violation.

       Plaintiff Antol's Count III basically alleges that the Defendants lied on their affidavit to the

magistrate who issued the search warrant. Specifically, it asserts that Officer Dent failed to

acknowledge the information contained in the affidavit was "unlawfully obtained." But the

Plaintiffs' have no evidence that A) the evidence was unlawfully obtained; or B) that Det. Dent

knew that the evidence was unlawfully obtained. There is simply no basis for liability under the


facts alleged. "The Fourth Amendment allows warrants to issue on probable cause, a standard

well short of absolute certainty."   Los Angeles County, California v. Rettele, 550 U.S. 609,


615 (2007).   "Affidavits do not have to be perfect, nor do they have to provide every specific

piece of information to be upheld." Hale v. Kart, 396 F.3d 721 , 725 (6th Cir. 2005). "Nor is an

affidavit required to present proof that would without question withstand rigorous cross-

examination." U.S. v. Allen , 211 F.3d 970 (6th Cir. 2000). "|W]hile better investigative work is

preferable to merely adequate investigation, it is not the constitutional measure of probable

cause." Allen , 21 1 F.3d at 976. "At bottom, we return to the basics of the Fourth Amendment:

is there 'probable cause' to believe that evidence of a crime will be found in the search?" Id.

"Valid warrants will issue to search the innocent." Rettele , 555 U.S. at 615.

       In other words, Count III springs from the false conclusion that the original search warrant

pertaining to Deuces Wild and the marijuana operation was somehow illegal and invalid. As set

forth above, the search, both before and after the warrant issued, was perfectly legal.

       Moreover, the allegation of a false affidavit is directed to Officer Dent. It does not allege

that Officers Bringedahl, Trucks, Kutches and Straus assisted or participated in preparing the

affidavit. Absent manifest indicia that a warrant lacks a basis in probable cause, an officer



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executing a warrant "cannot be expected to question the magistrate's probable cause


determination because it is the magistrate's responsibility to determine whether the officer's

allegations establish probable cause." Messerschmidt v. Millender, 565 U.S. 535, 547 (2012).

E. Count IV of the Complaint is specious


       Count IV claims one of Mr. Antol's sons was arrested illegally when, as officers searched

the house, the minor child was ordered him to sit up and slide down his bed at gunpoint. Alleging

that the Defendants did not have a reasonable, articulable suspicion or probable cause to detain

or arrest the minor Plaintiff, the arrest constituted false imprisonment.


       Count IV of the Complaint is so specious as to border on frivolous. It alleges that Mr.


Antol's son was falsely arrested while the officers were executing the search warrant at the

home. It is well-established that "a warrant to search for contraband founded on probable cause

implicitly carries with it the limited authority to detain occupants of the premises while a proper

search is conducted."    Michigan v. Summers, 452 U.S. 692, 704 (1981).            In this context,


handcuffing of persons at the searched premises is constitutionally reasonable.        Muehler v.

Mena, 544 U.S. 93, 99 (2005).

      Therefore, Plaintiff Antol has no basis whatsoever to complain about his son being

temporarily detained.

F. Count V of the Complaint is unavailing

       Count V alleges that Derek Antol recorded the "illegal" raid of his house with his son's cell

phone, and then returned the cell phone to his son. The son was "released" to his biological

mother. The police then allegedly seized the phone from the minor, an act the Plaintiffs claim

was unlawful as there was no valid search warrant, nor any reason to believe that the minor was

involved in a crime.




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       The Plaintiffs claim that Minor Antol's cellphone was illegally seized is baseless. A review

of the search warrant shows that the judge authorized the seizure of, among other things,

cellphones found on at Deuces Wild. The two other warrants authorized officers to seize

cellphones at the Farr Road home and the Greencreek home. On the face of the Complaint, the

Plaintiffs reveal that the cellphone in question was in the possession and control of Mr. Antol

when he was with the officers on the Apple Avenue premises. Mr. Antol then gave the phone to


his son who, at some point, left with his mother. The officer requested of Mr. Antol that the boy's


mother return the boy so the officer could recover the cell phone.


       Plaintiff Antol apparently believes that, in order to conceal property that is the subject of

a search warrant, all one has to do is hand the property to a third party and announce, Too late,


someone else has the property now." One needs not engage in deep legal research to recognize

the simple absurdity of this theory of liability. The cellphone was a properly listed as property


subject to seizure. It was in the control of the Plaintiff on the subject premises. The police had

the power to recover it when Mr. Antol's son carried it away from the scene.


G. PlaintiffAntol's pleaded facts do not state a claim for "false imprisonment" of his son.

       Count VI is also a false-arrest claim on behalf of Antol's minor son. It is a state-law claim.

Again, the theory stems from the contention that the original search warrants were unlawful and

invalid. It also stems from the erroneous belief that the only time an officer may ever detain

someone, even for only a few moments, is when the officer reasonably believes the detained

person is guilty of a crime.


       Count VI also fails. False imprisonment is the "unlawful restraint" of a person's liberty or

freedom of movement. Walsh, 263 Mich. App. at 627, 689 N.W.2d at 51 3-4. The restraint must




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have occurred without probable cause to support it." Walsh, 263 Mich. App. at 627, 689 N.W.2d

at 51 4.


       As described at length above, "probable cause" existed in this case both for the search


of Plaintiff's premises and for the temporary detainment of his son under Michigan law.

H. The Defendants enjoy qualified immunity


       "[G]overnment officials performing discretionary functions are generally shielded from

liability for civil damages insofar as their conduct does not violate clearly established statutory


or constitutional rights of which a reasonable person would have known." Harlow v. Fitzgerald,


457 U.S. 800, 81 8 (1 982). "When a defendant raises a defense of qualified immunity, the plaintiff


bears the burden of demonstrating that the defendant is not entitled to qualified immunity."

Livermore exrei. Rohm v. Lubelan, 476 F.3d 397, 403 (6th Cir. 2007).

           In this context, a right is "clearly established" where existing case law precedents

demonstrate the existence of the right to be "beyond dispute," such that "every reasonable officer

would have understood that what he is doing violates that right." Mullenix v. Luna,           U.S.


    , 136 S. Ct. 305, 308 (2015). Qualified immunity covers "mistakes in judgment, whether the

mistake is one of fact or one of law." Pearson v. Callahan, 555 U.S. 223, 231 (2009).

                                          CONCLUSION


           The searches and seizures were lawful. The warrants valid. The minimum detention of

one of the Plaintiffs reasonable.

       The Defendants respectfully request Summary Judgment.




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                             Respectfully submitted,


                             CUMMINGS, McCLOREY, DAVIS &ACHO, P.L.C.

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                             Cummings, McClorey, Davis & Acho. P.L.C.
                             2851 Charlevoix Drive, SE, Ste. 327
                             Grand Rapids, Ml 49546
                             616/975-7470

Dated: August 31 , 201 8




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                         EXHIBIT 1
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                                                                Page 29                                                              Page 31
v
         l        cousin and his girlfriend, who were there. Kind of        l        about July 9th, 2014?
         2        helping them out with a place to stay.                    2   A.   We wore, yes, yeah.
         3   Q.    Okay.                                                    3   Q.    Okay. From whom were you purchasing it?
                                                                                                                                               i
         4   A. And also security measur* if you will, for u*               4                                                                  J
                                                                                A.    Donald Shamptne.
         5        because we did stfll have quite a bit of personal         5   Q.    Champagne, like the wine?
         6        belongings stored (n the garage and in the basement       6   A. Shamptne.
         7        yet                                                       7   Q.    Do you think you could spell It?
         0   Q.    Who is your cousin?                                      e   A. S-H-A-M-P-I-N-E. And I believe that's Dasres,
         9   A. That was Mike Porter.                                       9        Incorporated, D-A-S-R-A-S Is his —
        10   Q.    And his girlfriend?                                     10   Q.    So you think maybe it was -was it Dasras?
        11   A. Heather Drabough (sp).                                     11   A.   Dasres.
        12   Q.    Were they paying rent?                                  12   Q.    Dasras?
        13   A. They were, yes.                                            13   A.   D-A-S-R-A-S.
        14   Q.    How long had they lived there before this - before      14   Q.   And Dasras was the corporation that you think actually
        15        July 9th-                              '                 15        owned the building?
        16   A. Oh, gosh —                                                 16   A. X believe so, yes.
        17   Q.    -2014?                                                  17   Q.   And what were the temts? In other words, what did you
        18   A.    — not long. A matter of a couple month* maybe.          18        pay for It, and what were you paying a month?
        19   Q.    Okay. And, to the best of your recollection, how long   19   A. It was a — ft was to be a five-year balloon — or
        20        had you Bved at North Green Creek before this            20        five-year land contract. X think the agreed purchase
        21        Incident?                                                21        price was 120,000, and our payments were 1,695 a
        22   A. Wo were there approximately four years.                    22        month.
        23   Q.    And it was you, Tryston, Devon, and Derek, 3r. at the   23   Q.    Okay. And what was that building before you bought
        24        time of the raid?                                        24        It, do you remember, was It a commercial —
        25   A. And Samantha.                                              25   A.   Before we — before we moved in, it was — there were



                                                                Page 30                                                              Page 32

         l   Q. And Samantha ConHIn?                                        l        actually two entities In I* as wa had. There was
         2   A. Yep.                                                        2        Alf Insurance, and there was a Cash Advance store.
         3   Q.   Was she a girlfriend?                                     3   Q.    Okay.
         4   A. Fiancee, yes.                                               4   A.    Both in the same location.
         5   Q.    Fiancee? Is she today?                                   5   Q.    Do you remember the square footage of that building?
         6   A. Yes.                                                        6   A.    It was approximately 1,600 square foot.
         7   Q. Now, going back to July 9th, you have Deuces Wild           7   Q.    1,600?
         8        Smoke Shop at 885 East Apple Avenue. How many             8   A. Yeah.
         9        employees did you have there?                             9   Q.    Okay. Is the building roughly a square shape, or is
        10   A. I believe at the time we had four.                         10        it-
        11   Q. Okay. Do you remember their names?                         11   A. Rectangular.
        12   A. Donakf Supemaw, who's my brother, there was Fred           12   Q.    Rectangular?
        13        Penning, Jr., Andrew Moser, and I forget Rob's last      13   A. Yeah. It was longer.                                        £
                                                                                                                                               4
        14        name. Rob something or other. I forget his last          14   Q.    And is It divided -I mean, obviously your allegation
        15        name.                                                    15        Is there were — you know, there's a public place, a
        16   Q.   And did you pay them an hourly rate?                     16        nonpublic place, et cetera, et cetera?
        17   A. Ye* they were on payroll.                                  17   A.    Correct.
                                                                                                                                               I
                                                                                                                                               »
        18   Q.   And they weren't on commission or anything?              18   Q. So Fm asking, in the rectangular building, was there
        19   A.   No.                                                      19        divisions within the building?
        20   Q. Okay. Now, I understand that -well, first of all,          20   A.    There was, yes.
        21        885 East Apple Avenue, Is that a building you own?       21   Q.    Okay. Can you describe the division? Wails -             \
        22   A. No. That was another one I had a land contract, we         22   A. Solid wall with a door.
        23        were purchasing that building.                           23   Q. Okay, solid wall with a door. But Just so I'm dear,
        24   Q. Okay. And I should rephrase that                           24        It was one building, correct?
        25                 Were you purchasing the building on or          25   A.    Correct.


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     l   Q.     And ft was serviced with efecWdty, for example,                  l   Q.    What's the alleged part? Who's made this allegation?
     2         that served the entire building? There weren't two                2   A. It would have been WENET.
     3         separate meters, correct?                                         3   Q.    Okay. And what do you mean by dispensary?
     4   A.    Incorrect There were two separata meters.                         4   A.    Provisioning center and dispensary, whatever you want
     5   Q. And what meter went to what?                                         5        to call it
     6   A.    One meter was for the Deuces Wild, and the other was              6   Q.    Tm sorry?
     7        for the 885 East Apple.                                            7   A.    Provisioning center, medical marijuana dispensary,
     8   Q.     rm sony?                                                         8        whatever you want to call it
     9   A. The 885 East Apple.                                                  9   Q.    Okay. Wetl, ftt a term that you used. I'm asking
    10   Q.    Okay. Did it have the same address?                              10        what do you mean by a dispensary? Soft's where
    11   A.    Yes.                                                             11        marijuana is sold?
    12   Q.    AD right So how — roughly, whafs the square                     12    A.    Correct
    13        footage of Deuces Wild?                                          13    Q.    Okay. And marijuana - and that was - so 885 East -
    14   A. Where we're currently at or at the time?                           14         excuse me, what was the name of the corporation again?

    15   Q. At the time, rim sorry. And, again, roughly? I'm not               15    A.    885 East Appie.
    16        going to hold you to it Pm Just trying to get an                 16    Q.    Okay. And that was a corporation. And you say
    17                                                                         17         "alleged" dispensary?
    18   A.    It was probably about — I would say about 1,200                 18    A.    It was an LLC.

    19        square foot was being leased to Deuces Wild.                     19    Q.    Okay, LLC Okay, and where was that dispensary
    20   Q.    Being leased by whom?                                           20         physically located?

    21   A. 885 East Appie.                                                    21    A. In the rear of the building.
    22   Q.    Okay. What is that?                                             22    Q.    Okay. Did you not consider that a marijuana

    23   A. That was an actual entity. It wasn't Just the                      23         dispensary?

    24        address, It was the actual entity.                               24    A.    We did. Isn't that what I just described It to you
    25   Q.    Okay. And what was It, a corporation?                           25         as?



                                                              Page 34                                                                    Page 36

     1   A. Yes.                                                                 l    Q.    Welt, you said alleged, and rm - and normally when
     2   Q.   And were you an Incorporator or an officer?                        2         someone says that, they say I disagree with it, that
     3   A. Yes.                                                                 3         somebody else is catling it a dispensary. So it Is a
                                                                                                                                                    !
     4   Q. Is that listed in your Interrogatory Answers?                        4         dispensary, correct?
     5   A. it was not, no.                                                      5    A. It was a dispensary, yes.
     6   Q. Why not? So there's at least two other entities that                 6    Q. Okay. And from that part of the building, you sold
     7        you were an officer, which ate left off this                       7         marijuana - or, rather, 885 East Apple -
     8        Interrogatory answer, correct?                                     8    A. I didnt sell marijuana, no.
     9   A. Yes.                                                                 9    Q.    Let me finish the question.

    10   Q. Okay. Wefl, lefs talk about Apple Avenue then. When                 10                   885 East Appie, LLC sold marijuana,            I




                                                                                11         correct?
    11        did you incorporate that?
    12   A. That was tight around the same timet November of 2011,              12    A. Correct.
                                                                                                                                                    I
    13        when we moved In.
                                                                                13    Q. Okay. Did you, as either an officer or an employee of      3
    14   Q. Okay. Why did you Incorporate and not Just buy It as
                                                                                14         this LLC, ever sell marijuana?                           i
    15        an individual?
                                                                                15    A. I did not.                                                 >
    16   A. Excuse me?
                                                                                16    Q. Okay. So you never handed it to anyone, took any           !
                                                                                17          money, correct?                                         \
    17   Q. Why did you incorporate and purchase It through a
                                                                                18    A. I did not.
    18      corporation, as opposed to just you tndMduaDy?
                                                                                19    Q.     Okay. Did Samantha Conkiln?
    19   A. The building was befog purchased by myself as an
                                                                                20    A.    Yes.
    20        Individual.
                                                                                21    Q. Okay, [fid anyone else besides Samantha?
    21   Q. Okay. Then what Is 885 East Appie, wh8t was the
                                                                                22    A. Yes.
    22        function of that?
                                                                                23    Q. Who?
    23   A. That was the alleged dispensary.
                                                                                24    A. Rob Holm was his last name, H-O-L-M.
    24   Q. Okay. So you say alleged dispensary?
                                                                                25    Q.     H-O-L-M?
    25   A. That's what I said, yes.

                                                                             SUMMi




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                         EXHIBIT 2
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                               UNITED STATES OP AMERICA
                   ENTHB WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION
                                                                                                                      TABLE OF CONTENTS

                 DEREK ANTOL. individually vid M
                 Nad Friend ofDSA. a miner. DSAH.                                                                                                PAGE
                 a minor, and TRYSTON ANTOL,

                         Plaintiffs,         Case No. 1;I7-cw6I3
                                                                                                  CASEY BRINGEDAHL:
                 -v-

                                        KON. JANET T. NEFP
                 ADAM DENT, KATE STRAUS, CASEY                                                           Direct Examination by Mr. Bostic                          5
                 BRINGEDAHL, CASEY TRUCKS. PETE
                 KUTCHES. and WESTERN MICHIOAN
                 ENFORCEMENT TEAM, a public body
                 organized utulcr thalswi ofthe
                 State of Michigan.

                         Defendants.
                                                                                                  EXHIITS:                                             IDENTIFIED
                                                                                                         None.
                             DEPOSITION OF CASEY BRINGEDAHL

                         Token by the PIn'ntjf& en the 10th day ofMay, 2013,


                   at the oRicca ofCumRiings, McClorey, Davis & Acho, 2331

                   Charlevoix Drive, Sttiie 727, Grand Rapids, Michigan, el

                       Ii7 p.m.



                 APPEARANCES:

                 Per the PtaintiHs:   MR. J. NICHOLAS BOSTIC (P40653)
                                 909 N. Washington Avenue
                                   Lansing, MI 43906
                               (317)7064)1)2
                 For the Defendant    MR. ADAM P. SADOWSKJ (P7JSS4)
                 Cesey Tracks:      MR. PATRICK MYERS (P8I444)
                               525 W. Ottawa Street
                                   P.O. Box 307)6
                                   Lansing. MI 43909
                                   (517) 373-6434




                                                                               Page   2                                                                     Page    4

                   For the Defendants               MR. CURT A. BENSON (P3889 1)          1         Grand Rapids, Michigan

                   Straus, Bringedahl&              MR. BRADLEY WANALUNAS (P          )   2         Thursday. May 10, 2018 • 3:57 p.m.

                   Kutches:                 2851 Charlevoix Drive. Suite 327              3                CASEY BRINGEDAHL
                                        Grand Rapids. MI 49546                             4         HAVING BEEN CALLED BY THE PLAINTIFFS AND SWORN:
                                        (616)975-7470                                     5          MR. BOSTIC: Please state your name for the
                   Recorded by.               Denise L Jamba, CER 0786
                                                                                          6    record.
                                        Certified Electronic Recorder
                                                                                          7          THE WITNESS: Cosey Bringedahl.

                                                                                           8         MR. BOSTIC: Mr. Bringedahl, my name is Nick

                                                                                           9   Bostic end I represent Derek Ante! and others in Antol

                                                                                          10   versus Dent end others. Western District cfMichigan File
                                                                                          11   I:l7«cv*6l3. Today is the time end date set for yettr

                                                                                          12   deposition, which will be used for el) purposes as allowed
                                                                                          13   by the Michigan Rules - rim sorry. Federal Rules ofCivil
                                                                                          14   Procedure and the Federal Court Rules.
                                                                                          15         Counsel, any objection as to notice?
                                                                                          16         MR. BENSON: No.

                                                                                          17         MR. SADOWSKI: No.

                                                                                          18         MR. BOSTIC: Appearances for the record, please.

                                                                                          19         MR. BENSON: Curt Benson here with Sergeant

                                                                                          20   Bringedaht.

                                                                                          21         MR. WANALUNAS: Bred Wanalunas representing

                                                                                          22   Sergeant Bringedaht.

                                                                                          23         MR. SADOWSKI: Adam Sadowski on behalfof

                                                                                          24   Defendant Tracks.

                                                                                          25         MR. MYERS: Patrick Myers on behalf of Defendant




                                                                                                                            1      (Pages               1    to     4)


Electronically signed by Denise Jamba (20141M?J®i(J3)Count y COU.3?t RepO rt e JT Se98bf89f-eeae-4dB6-9610-6Qe245ebd151
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                                                                           Page     13                                                             Page      15
              l         a buy or something like that? You - you log almost eveiy          1   Q    In a marked unit?
              2         movement, correct?                                                2   A    Correct.
              3    A     Yes.                                                             3   Q    Did this person that you're observing appear to be a minor
              4    Q     But when you go to do surveillance on a static location          4       or an adult?
              5        just waiting ibr a warrant, do you typically do the same           5   A    He was an adult
              6         type orsurveillance notes?                                        6   Q    You could tell that from your surveillance position?
              7    A     Not generally. In this case, any— any movement that I            7   A    Yeah.
              8        saw was documented in the report I didn't see the need             B   Q    Were you — had you been informed that there was a minor
              9         at that point to prepare any surveillance notes.                  9       inside the home asleep?
             10   Q      But - but you didn't document the time?                         10   A    1 had not.
             11   A      I don't know that It might be in my report in can               11   Q    Did you have any information given to you about who might
             12        reference that.                                                   12       or might not be there?
             13   Q      Let's check and see.                                            13   A    I had none.
             14   A      Okay. So according to my report, I began surveilling the        14   Q    So your instructions were to go watch the house pending a
             15        residence at approximately 13:50 hours. At approximately          15       warrant?
             16         14:15 hours, I observed the subject walk out ofthe house.        16   A    Correct
             17   Q     And then what did you do alter you made that observation?        17   Q    When Trooper Trucks pulled up, what did you observe?
             18   A      I contacted Detective Sergeant Straus and advised her that      18   A    I pulled up right behind him. We made contact with the
             19        we had someone that was in and out ofthe residence.               19       subject identified him as Michael Tozer. I then took a
             20   Q      So did you say you detected movement at 14:15?                  20       statement in regards to why he was — he was at the home.
             21   A     Correct                                                          21   Q    What did he tell you?

             22   Q     And then after talking to her, what happened?                    22   A    He told me he was an electrician running a 220 line back
             23   A      it was requested that I go make contact with that subject,      23       to the pole bam.

             24        identify him, lind out what he's doing at the residence.          24   Q    Did you ask him about anyone else being in the home?
             25        Obviously, at that point I was familiar with Ms. Conklin          25   A    1 did and he stated that he wasn't sure.



                                                                           Page     14                                                             Page 16

              1        and Mr. Antol, knew who they were. It wasn't either one            1   Q    Did he lake you around and show you the door that he bad
              2        of (hem, so I requested that Trooper Trucks go and make            2       been using to get into the building or did you determine
              3        contact with the subject.                                          3       whether he hod been in the dwelling itself?
              4   Q     When he came out ofthe pole bam, where did he go7                 4   A    He admitted that he had been. He had accessed through the
              5   A     At -at that point, we hadjust contacted him. He                   5       back door into the basement.
              6        just - he made — by the time it took me to — to, you               6   Q    Did he have access into the living portion?
              7        know, make the phone call and discuss what we were going           7   A    I - 1 don't know.

              8        to do, he had — he had kind ofwalked from the house to             8   Q    After he told you (hat, what did you do?
              9        the pole bam, you know, and to his car. He wasjust kind            9   A    I contacted Detective Sergeant Straus and advised her of
             10        of- you know, the guy ended up being an electrician. He           10       my findings.

             11        was there probably getting tools out of his ear, so on and        11   Q    And then what happened?

             12        so forth.                                                         12   A She requested that officers enter the home to secure the
             13   Q     Were you able to see exactly what he was doing when he was       13       residence prior to the search warrant.
             14        at his car?                                                       14   Q    Did Mr. Tozer indicate to you that he had spoken to
             15   A     I — 1 couldn't, no.                                              15       anybody inside the house?

             16   Q     Was his ear the car that you had mentioned earlier?              16   A    He - no. I asked several times ifhe thought anybody was
             17   A     Yes.                                                             17       inside. He says, "I'm not sure." He says, 1 just went
             18   Q     Okay. From your observations ofhim before Trooper Trucks         18       into the basement."

             19        arrives, did you have any indication that he's aware of           19   Q Where is the marked patrol car parked at this point?
             20        your presence?                                                    20   A    In the driveway.

             21   A     No.                                                              21   Q So what did you do after Sergeant Straus made her request?
             22   Q     He did not appear to be aware ofyour presence?                   22   A 1 stayed outside with Mr. Tozer while Detective Kutches
             23   A     No.                                                              23       and Trooper Trucks went inside and secured the residence.
             24   Q     So does Trooper Trucks then ptill up at your request?            24   Q Did you - were you able to see them at all while they
             25   A     Yes.                                                             25       were inside the residence?

                                                                                                                                                                  55SB


                                                                                                                     4     (Pages             13   to 16)

Electronically signed by Denise Jamba (201-416-6^8i03)Coun t y Court RepO r t e r S e98bfe9f-eeae-4d86-961 0-60e245ebd151
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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN


 ANTOL, DEREK, individually and as
 next friend for DSAII, a minor, DEVON
 S. ANTOL. and TRYSTON ANTOL,

               Plaintiffs,                         Case No. 1:17-cv-613


 v.                                                HON. JANET T. NEFF

 ADAM DENT, KATE STRAUS, CASEY
 BRINGEDAHL, CASEY TRUCKS, and
 PETE KUTCHES,


               Defendants.




                                   CERTIFICATE OF SERVICE

      Curt A. Benson states he is counsel for Defendants Dent, Strauss, Bringedahl, and
Kutches, in the above entitled cause of action, and on the 31st day of August 2018, he
served Defendants Dent, Strauss, Bringedahl and Kutches' Motion for Summary
Judgment and Brief in Support of Defendants Dent, Straus, Bringedahl and Kutches'
Motion for Summary Judgment on behalf of above-stated Defendants, via first-class mail,
postage prepaid to:

 J. Nicholas Bostic                                John G. Fedynsky
 909 N. Washington Ave.                            Assistant Attorney General
 Lansing Ml 48906                                  Michigan Dept. of Attorney General
                                                   525 W. Ottawa Street
                                                   P.O. Box 30736
                                                   Lansing, Ml 48909


             The above information is true to the best of my knowledge, information and belief.



                                        /s/ Curt A. Benson
                                        Curt A. Benson (P38891)




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